Case 1:22-cr-20521-DSL Document 100 Entered on FLSD Docket 10/12/2023 Page 1 of 3



                               United States District Court
                                         for the
                               Southern District of Florida


UNITED STATES OF AMERICA,
               Plaintiff
                                                 CASE NO. 22-CR-20521-RNS

v.

THEODORE FARNSWORTH,

                  Defendant.
______________________________________

                         GOVERNMENT’S INDEX OF EXHIBITS
                          INTRODUCED DURING HEARING ON
                 MOTION TO REVOKE DEFENDANT’S PRE-TRIAL RELEASE

           The United States of America, through the undersigned counsel, files this
     index of exhibits introduced during the evidentiary hearing held on September 7,
     2023, on the government’s motion to revoke the pre-trial release of the defendant,
     Theodore Farnsworth. The following exhibits are filed as attachments to this
     index in accordance with Local Rule 5.3:

         GOVT            DATE
                                                     DESCRIPTION
       EXHIBIT NO.     ADMITTED
                                              U.S. Probation Chrono Entry
            26         09/07/2023
                                              Dated 11/22/2022 (Redacted)
                                              U.S. Probation Chrono Entry
            27         09/07/2023
                                                    Dated 11/29/2022
                                           Pretrial Services Supervision Report
            32         09/07/2023
                                               Dated 5/3/2023 (Redacted)
                                           Pretrial Services Supervision Report
            33         09/07/2023
                                               Dated 6/5/2023 (Redacted)
                                           Pretrial Services Supervision Report
            34         09/07/2023
                                               Dated 7/5/2023 (Redacted)
                                            Onondaga County Sheriff’s Office
            35         09/07/2023           Certificate of Service of Summons
                                              Dated 5/19/2023 (Redacted)
Case 1:22-cr-20521-DSL Document 100 Entered on FLSD Docket 10/12/2023 Page 2 of 3




                                 Respectfully submitted,

                                 GLENN S. LEON
                                 CHIEF, FRAUD SECTION
                                 CRIMINAL DIVISION
                                 U.S. DEPARTMENT OF JUSTICE

                           By:   /s/ Lauren Archer
                                 Lauren Archer
                                 Trial Attorney
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Case 1:22-cr-20521-DSL Document 100 Entered on FLSD Docket 10/12/2023 Page 3 of 3




                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 12, 2023, I electronically filed this
 document and its attachments with the Clerk of Court using CM/ECF. I also certify
 that the foregoing document is being served this day on all counsel of record via
 transmission of Notices of Electronic Filing generated by CM/ECF.



                                        /s/ Lauren Archer
                                        Lauren Archer
                                        Trial Attorney
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